      4:24-cv-03064-JMG-JMD Doc # 1 Filed: 04/05/24 Page 1 of 6 - Page ID # 1




                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEBRASKA
                                       AT LINCOLN

 DEON QUICK, an individual resident of                 Case No. ____________________
 Nebraska,
                                                       COMPLAINT
                           Plaintiff,
                                                       JURY TRIAL DEMANDED
 v.

 BNSF RAILWAY COMPANY, a Delaware
 corporation,

                           Defendant.



         Plaintiff, Deon Quick, by and through his undersigned counsel, for complaint and cause

of action against Defendant BNSF Railway Company (“BNSF”), hereby alleges and avers as

follows:

                                   I.      NATURE OF ACTION

1.         This is a civil tort action arising from a disabling on-the-job injury suffered by Plaintiff

           Deon Quick on August 5, 2022, while employed by Defendant BNSF as a Signalman in or

           near Alliance, Nebraska.

2.         This suit sounds in negligence and arises under federal law pursuant to the Federal

           Employers’ Liability Act (FELA), 45 U.S.C. § 51, et seq., because Plaintiff’s injuries were

           caused by Defendant BNSF’s failure to exercise proper care under the circumstances, in



                                                   1
      4:24-cv-03064-JMG-JMD Doc # 1 Filed: 04/05/24 Page 2 of 6 - Page ID # 2




          that it failed to provide Plaintiff with proper and safe tools and equipment to complete his

          assigned work, it failed to provide Plaintiff a reasonably safe place to work, and it

          committed other acts of negligence.

3.        As a direct result of Defendant’s negligence in violation of the FELA, Plaintiff suffered

          severe and permanent economic and noneconomic injury, including being disabled from

          his job of injury, in amounts to be proven at trial of this matter.

                                           II.     PARTIES

4.       Plaintiff incorporates each of the above allegations by reference as if stated fully herein.


5.       Plaintiff Deon Quick is a natural person and resident of the State of Nebraska.


6.       Defendant BNSF Railway Company is a corporation formed and existing under the laws

         of the State of Delaware, and is in the business of operating a system of railroad tracks

         and railroad equipment for hire, which system includes lines of track and interstate

         railroad operations in the District where this action is filed.


7.       At all material times, Defendant BNSF was an interstate carrier of freight by rail, and was

         engaged in interstate transportation and commerce.


8.       At all materials times, Plaintiff was employed by Defendant as a Signalman, whose work

         duties were connected to and in furtherance of Defendant’s interstate railroad business.


                     III.     JURISDICTION AND VENUE; JURY DEMAND

9.       Plaintiff incorporates each of the above allegations by reference as if stated fully herein.

10.      This Court has subject matter jurisdiction over this action pursuant to the FELA, 45

         U.S.C. §§ 51-60.

11.      This Court also has subject matter jurisdiction over this action due to the diversity of

         citizenship of the parties, and because the amount in controversy in this action exceeds

         the threshold established by 28 U.S.C. § 1332(a).



                                                    2
      4:24-cv-03064-JMG-JMD Doc # 1 Filed: 04/05/24 Page 3 of 6 - Page ID # 3




12.      This Court has personal jurisdiction over the person of Defendant BNSF because

         Defendant BNSF is present and transacting business in this judicial district, because

         Defendant BNSF maintains sufficient contacts with the State of Nebraska as to properly

         warrant the exercise of personal jurisdiction by this Court, BNSF has registered to

         conduct business in this district, substantial parts of the actions and inactions alleged

         hereafter occurred in Nebraska and because Defendant BNSF purposefully avails itself

         of the laws and protections of the State of Nebraska for all conduct of its business

         operations within this judicial district.

13.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2) because a

         substantial part of the events or omissions giving rise to the claim occurred in this district,

         BNSF’s Registered Agent is located in this district, and because Defendant BNSF is

         subject to the Court’s personal jurisdiction with respect to this claim.

14.      Pursuant to Fed. R. Civ. P. 38, and LCR 38.1, Plaintiff hereby demands that this matter

         be tried to a jury.

                                       GENERAL ALLEGATIONS

15.      Plaintiff incorporates each of the above allegations by reference as if stated fully herein.

16.      On August 5, 2022, Plaintiff was employed by Defendant BNSF and was performing his

         assigned duties in or around Alliance, Nebraska.

17.      Among the duties Plaintiff was assigned to perform on this date was loading a “switch kit”

         into his assigned work vehicle, for purposes of constructing or repairing one or more railroad

         switches along BNSF’s system of railroad tracks.

18.      The “switch kit” that Plaintiff was assigned to load was contained in a box or crate that was

         broken, flimsy, or otherwise insufficient to permit lifting or maneuvering via a mechanical

         means.

19.      The switch parts therefore had to be lifted, moved, and loaded by hand into the work vehicle.\

20.      The parts of this switch were heavy, awkward, and bulky to move by hand.




                                                     3
      4:24-cv-03064-JMG-JMD Doc # 1 Filed: 04/05/24 Page 4 of 6 - Page ID # 4




21.      No weights of the materials to be lifted were stamped or otherwise indicated on the switch

         kit parts Plaintiff was assigned to lift and move on August 5, 2022.

22.      Employees such as Plaintiff were trained, expected, and instructed by Defendant BNSF to

         lift, move, and load these parts without assistance.

23.      No particular training or instruction was ever provided to Plaintiff by Defendant BNSF on

         how to safely lift, move, and load these heavy pieces of equipment.

24.      Unfortunately, on this date, a large switch part that Plaintiff was moving shifted and began

         to drop unexpectedly, resulting in severe injury to Plaintiff’s shoulders and upper

         extremities.

25.      To the extent that BNSF is at fault as alleged in this action, Plaintiff is fault-free.

                                COUNT ONE – Negligence (FELA)

26.      Plaintiff hereby realleges and incorporates by reference the allegations stated above in

         this Complaint, as though fully set forth herein.

27.      Plaintiff’s injuries were caused, in whole or in part, by the tortious conduct of Defendant

         BNSF in violation of its applicable duty of care under the FELA (45 U.S.C. §§ 51-60),

         including, but not limited to, by:

             i. Failing to provide Plaintiff with a reasonably safe place to work;

             ii. Failing to provide Plaintiff with reasonably safe equipment, tools, and machinery

                 for the performance of the duties to which he was assigned;

            iii. Failing to inspect, maintain, repair, and/or replace the equipment, tools, and

                 machinery provided to Plaintiff to perform the duties to which he was assigned;

            iv. Failing to properly train Plaintiff and other employees in methods to safely

                 perform the duties to which they were assigned; and/or

             v. Other acts of negligence as investigation and discovery may reveal.

28.      Due in whole or in part to BNSF’s negligence under the FELA and otherwise as alleged

         herein, Plaintiff sustained severe and permanent physical injuries to his shoulders and

         upper extremities.


                                                     4
      4:24-cv-03064-JMG-JMD Doc # 1 Filed: 04/05/24 Page 5 of 6 - Page ID # 5




29.         As a direct result of these injuries, and due to BNSF’s negligence, Plaintiff has incurred

            in the past and will incur in the future medical and treatment-related expenses, in amounts

            to be proven at trial.

30.         As a direct result of these injuries, and due to Defendant’s negligence, Plaintiff has been

            unable to return to his job of injury, and has lost both past and future wages, earnings,

            and benefits, to his damage, in amounts to be proven at trial.

31.         As a direct result of these injuries, and due to Defendant’s negligence, Plaintiff has

            suffered disability, pain, suffering, emotional distress, loss of enjoyment of life, and other

            noneconomic damages, in amounts to be proven at trial.

                                         PRAYER FOR RELIEF

            Having stated the foregoing cause(s) of action, Plaintiff now requests that the Court award

the following relief:

            a.      A judgment in favor of Plaintiff and against BNSF, awarding Plaintiff his past and

future economic damages, in an amount to be determined at trial;

            b.      A judgment in favor of Plaintiff and against BNSF, awarding Plaintiff his past and

future noneconomic damages, in an amount to be determined at trial;

            c.      A judgment in favor of Plaintiff and against BNSF, awarding Plaintiff prejudgment

interest on all liquidated sums, including his past economic damages, in an amount to be determined

at trial;

            d.      An award of Plaintiff’s reasonable attorneys’ fees and costs incurred herein, to the

extent permitted by law; and,

            e.      Such other relief as the Court may deem just and equitable under the

circumstances.




                                                      5
4:24-cv-03064-JMG-JMD Doc # 1 Filed: 04/05/24 Page 6 of 6 - Page ID # 6




   Dated: April 3, 2024
                                 ROSSI VUCINOVICH PC

                                 By: s/ Benjamin T. G. Nivison
                                 Benjamin T. G. Nivison, Pro Hac Vice
                                 Application Forthcoming
                                 TRIAL COUNSEL FOR PLAINTIFF
                                 1000 Second Avenue, Suite 1420
                                 Seattle, WA 98104
                                 Phone: 425.646.8003
                                 Fax: 425.646.8004
                                 Email: bnivison@rvflegal.com



                                 ATWOOD LAW, P.C., L.L.O.

                                 By: s/ __Corey L. Stull________________
                                 Corey L. Stull, NSBA # 21336
                                 LOCAL COUNSEL FOR PLAINTIFF
                                 575 Fallbrook Blvd., #206
                                 Lincoln, NE 68521
                                 Phone: 402.476.4400
                                 Fax: 402.476.4410
                                 Email: cstull@atwoodlaw.com




                                   6
